 Case 5:19-cv-02456-FMO-SP Document 113 Filed 11/18/20 Page 1 of 2 Page ID #:1816



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     Moss Bros. Auto Group, Inc.
11
12                          UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14
     JAMAL JOHNSON, individually and on         Case No.: 5:19-cv-02456-FMO-SP
15   behalf of others similarly situated,       [Assigned to Hon. Fernando M. Olguin]
16                     Plaintiff,               JOINT STIPULATION AND
17   v.                                         REQUEST
18   MOSS BROS. AUTO GROUP, INC.,               JOINT STIPULATION AND
     California Corporation,                    REQUEST RE: DEADLINE TO
19                                              SEEK PRELIMINARY APPROVAL
                       Defendant.               OF CLASSWIDE SETTLEMENT
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                                                [Proposed Order filed concurrently]
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 Case 5:19-cv-02456-FMO-SP Document 113 Filed 11/18/20 Page 2 of 2 Page ID #:1817



 1         Plaintiff Jamal Johnson (“Plaintiff”) and Defendants Moss Bros. Auto Group and
 2   Susan Anderson (“Defendants”) (collectively, the “Parties”), through their respective
 3   counsel, hereby stipulate and jointly request that the deadline for Plaintiff to file a Motion
 4   for Class Certification and Preliminary Approval of Settlement Agreement (“Motion”)
 5   be extended from November 23, 2020, [DE #112], to December 14, 2020. The parties are
 6   working cooperatively but need the additional time to document the long-form settlement
 7   agreement, to finalize and review data related to settlement class members, and to craft
 8   and finalize a notice plan with a third-party claims administrator. The Parties will
 9   endeavor to file the Motion prior to the deadline if it is feasible.
10   Respectfully submitted by:
11
     EDELSBERG LAW, P.A.
12   /s/ Scott Edelsberg____
     Scott Edelsberg, Esq.
13   Counsel for Plaintiff
14
     GREENBERG TRAURIG, LLP
15   /____________________
     Adil M. Khan
16   Counsel for Defendants
17
18   Dated: November 18, 2020
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22                       ATTESTATION REGARDING SIGNATURES
23         I, Scott Edelsberg, attest pursuant to L.R. 5-4.3.4(a)(2)(i) that all signatories listed,
24   and on whose behalf the filing is submitted, concur in the filing’s content and have
25   authorized the filing.

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     Date: November 18, 2020                         /s/ Scott Edelsberg
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